998 F.2d 1009
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Walter JENKINS, Petitioner-Appellant,v.Patrick WHALEN, Warden, Respondent-Appellee.
    No. 93-6018.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 29, 1993.Decided:  July 26, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.
      Walter Jenkins, Appellant Pro Se.
      Robert William Jaspen, OFFICE OF THE UNITED STATES ATTORNEY, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before MURNAGHAN, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Walter Jenkins appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2241 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Jenkins v. Whalen, No. CA-92-332-R (E.D. Va.  Nov. 18, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    